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IN THE UNITED STATES DISTRICT coURT `F'"-ED B‘f' -` D.C.
FOR THE wEsTERN DISTRICT oF TENNESSEE
WESTERN DIvIsION 05 JUN 20 PH 2: 2.'E
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ITED TATE F AMERI A, C_‘-E_RK US DIST. CT.
UN 3 S 0 C oFTN, MEMPHls
vs. No. 04~20500-Ma

LOVAN IA BROWNLEE ,

Defendant.

 

ORDER CONDITIONALLY WAIVING APPEARANCE AT REPORT DATE

 

On June 16, 2005, counsel for defendant Lovania Brownlee,
filed a motion to Waive the appearance of the defendant at the
report date scheduled on June 24, 2005. For good cause shown,
the motion is granted and the appearance of the defendant is
waived on the condition that immediately upon its receipt,
counsel file with the court a written waiver signed by the

defendant.

It is so ORDERED this lq‘“`day of March, 2005.

<W//M»z____

SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

 

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with Fiu|e 55 and/or 32(b) FRCrP on w

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 28 in
case 2:04-CR-20500 Was distributed by faX, mail, or direct printing on
June 21 , 2005 to the parties listed.

 

Pamela B. Hamrin
200 Jefferson, Suite 200
Memphis7 TN 38109

David Pritchard

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

Honcrable Samuel Mays
US DISTRICT COURT

